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                                                                                                        OSENLLC
                                                                                                   ATTORNEYS AT IiAW
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                                                      January 10,2019


       VIA HAND DELIVERY                                                                      ii


       Douglas C. Palmer
       Clerk of Court                                                                *             Ig
       United States District Court
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, NY 11201


         Re:        Bartlett, etat v. Societe Generale de Banque au Liban SAL,19-cv-007(NG)(VMS)


      Dear Mr.Palmer,

                  We represent Plaintiffs in the above-referenced matter. Enclosed for service via FedEx
      Intemational pursuant to Rule 4(Q(2)(C)(ii) of the Federal Rules of Civil Procedure please find
      one(1)copy of the Complaint filed in the above-referenced matter, along with one(1)copy of a
      summons and civil cover sheet,for service upon:

                  Antoun Sehnaoiii
                  Society Generate de Banque au Liban SAL
                  Saloumeh-Dekwaneh,Saloumeh Roundabout,SGBL Bids.
                  Beirut,1107 Lebanon

                  Adnan Kassar
                  Fransabank SAL
               Fransabank Headquarters
                  Hamra Str.,Riad £I Solh
               Beirut 1107 2803 Lebanon

               Vincent Nabih Haddad
               Middle East Africa Bank
               MEAB Building,.Adnan A1 Hakim Ave.
               Beirut,1105 2080 Lebanon
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           Semaan Bassil,
           Byblos Bank SAL
           Byblos Bank Tower
          Elias Sarkis Ave.
          Achrafieh
          Beirut Lebanon

          Samir N.Hanna and Dr.Imad Itani
          Bank Audi SAL
          Bab Idriss,Bank Audi Plaza
          Omar Daouk Street,B
          Beirut,Lebanon
          01977588

          Salim Sfeir
          Bank of Beirut SAL
          Foch Street,Beirut Central District,Bank of Beirut s.a.l. Bldg.
          11-7354 Beirut-Lebanon
          01-958704

          Abul Hafiz M.Itani
          Lebanon & Gulf Bank SAL
          LGB Headquarters, Allenby Street, Beirut Central District
          Beirut,Lebanon

          Walid Raphael,Banque
          Libano-Fran9aise SAL
          5,Rome Street,Beirut Liberty Plaza Hamra,
          Beirut,Lebanon

          Ghassan T. Assaf
          Bank of Beirut and the Arab Countries SAL
          250 Clemenceau Street,BBAC Building,
          Beirut,Lebanon

          Anwar A.Janunal
          Janunal Trust Bank SAL
         JTB Tower — Tahweeta High Way,Elias Hraoui Avenue
         Beirut-Lebanon

         Also enclosed are FedEx International mailing boxes, a FedEx international air waybill
  for each Defendant, and a duplicate set of the pleadings for the Court's file.
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               Please do not hesitate to contact me with any questions. Thank you for your courtesies in
        this regard.

                                                           Sincerely,



                                                           William A.Friedman
       Enclosures
